   Case 4:18-cv-00825-O Document 5 Filed 10/10/18   Page 1 of 1 PageID 192


                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                          FORT WORTH DIVISION


RICHARD W. DEOTTE, ET AL.            §
                                     §
VS.                                  §       ACTION NO.     4:18-CV-825-Y
                                     §
ALEX M. AZAR, ET AL.                 §

                        ORDER FOR REASSIGNMENT

      The undersigned judge, having taken senior status, desires to

have this case re-assigned to an active-status judge. The clerk of
the Court is therefore DIRECTED to re-assign this case by random draw

to another judge.

      SIGNED October 10, 2018.

                                         ____________________________
                                         TERRY R. MEANS
                                         UNITED STATES DISTRICT JUDGE
